Case 6:21-cv-00012-NKM Documenti1-1 Filed 03/09/21 Page 1of8 Pageid#: 7

 

 

 
Case 6:21-cv-00012-NKM Document 1-1 Filed 03/09/21 Page 2 of 8 Pageid#: 8

 

  

DWolters Kluwer -

PROCESS SERVER DELIVERY DETAILS

Date: , Tue, Feb 16, 2021

 

 

 

 

Server Name: . Sharon Condrey

Entity Served TESLA MOTORS, INC. (USED IN VA BY: TESLA, INC.)
Agent Name CT CORPORATION SYSTEM

Case Number . 680CL21000115-00

Jurisdiction VA

 

 

 

 

MM
Case 6:21-cv-00012-NKM Document 1-1 Filed 03/09/21 Page 3o0f8 Pageid#: 9

 

 

— OTHSOIBB

 

Civil Division
900 COURT STREET P. O. BOX 4
LYNCHBURG VA 24505
(434) 455-2620

Summons

To: TESLA, INC D/B/A TESLA MOTORS Case No. 680CL210001 15-00
R/A CT CORPORATION SYSTEM
4701 COX RD
STE 285
GLEN ALLEN VA 23060

The party upon whom this summons and the attached complaint are served is hereby notified
that unless within 21 days after such service, response is made by filing in the clerk’s office
of this court a pleading in writing, in proper legal form, the allegations and charges may be
taken as admitted and the court may enter an order, judgment, or decree against such party
either by default or after hearing evidence.

Appearance in person is not required by this summons.
Done in the name of the Commonwealth of Virginia on, Wednesday, February 10, 2021
f : TODD SWISHER :
Clerk of Court é —
by ( My
a CLERK )
Instructions:

 

Hearing Official:

FEINMAN, JAMES
1003 CHURCH ST
LYNCHBURG VA 24505

Attorney's name:
Case 6:21-cv-00012-NKM Document 1-1 Filed 03/09/21 Page 4of8 Pageid#: 10

 

VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF LYNCHBURG

WESTWARD INVESTMENT
PROPERTIES, L.L.C., a Virginia
Limited Liability Company

and
TONY DEMARCO WEST
Plaintiffs,
v. COMPLAINT

CASE NO.: ( La chy YI F )

TESLA, INC. d/b/a
TESLA MOTORS, INC.,

Please serve:

Registered Agent

C T CORPORATION SYSTEM.
4701 Cox Rd Ste 285

Glen Allen, VA 23060

Defendant.

- ¢*+ > s + BP te © + + Fe He Fe ee eh ehlhUhhlUhhlUmhlUmrhlUrh

 

 

 

NOW INTO COURT, through undersigned counsel, come Plaintiffs, Westward
Investment Properties, L.L.C., a Virginia Limited Liability Company, and Tony DeMarco
West (herein Mr. West) and move the Court for judgment against Defendant Tesla, Inc.
d/b/a Tesla Motors, Inc. on the following grounds of fact and law:

i. On September 1, 2019, Plaintiffs purchased a new 2019 Tesla Model X, VIN
5YJXCBE26KF 192766, manufactured by Testa, Inc., from a licensed Tesla
dealership located at 9850 W. Broad Street, Glen Allen, VA 23060, The vehicle
was purchased with an odometer reading of 50 miles, and for a total delivery
price of $112,363.44,

2. The vehicle came with a warranty froma Tesla, Inc. d/b/a Tesla Motors, Inc.

{3633 / 001} Page 1 of 5
Case 6:21-cv-00012-NKM Document 1-1 Filed 03/09/21 Page 5of8 Pageid#: 11

 

3. The warranty includes Basic Coverage over the entire vehicle, unless specifically
excluded, for four years or 60,000 miles, whichever came first.

4. The vehicle's doors in Plaintiffs’ vehicle are covered under the Basic Coverage
Warranty.

5. On June 9, 2020, Plaintiff Mr. West delivered the vehicle to the dealership’s
repair facility. The vehicle's passenger side falcon door was not closing properly.
At this time, the vehicle had a mileage of 8,903. The dealership attempted to
repair the defect and returned the vehicle to Mr. West on June 09, 2020.

6. On August 26, 2020, Mr. West returned the vehicle to the dealership again, to
repair right-hand rear falcon door because it was not closing. The dealership
attempted to repair the issue and returned the vehicle to Mr. West on August 26,

2020.

 

 

 

f. On September 23,2020, Mr. West returned the Vehicle to thé dealership again
because the falcon door both would not close all the way and was opening more
slowly. The dealership attempted to repair the defects and returned the vehicle to
Mr. West on September 23, 2020.

8. On October 28, 2020, Mr. West returned the vehicle to the dealership for repairs
to the passenger falcon door that was still not closing. By this time, the left-hand
side rear falcon door was opening slowly or not opening at all. The dealership
attempted to repair the defect. The vehicle was returned to Mr. West on October
28, 2020.

8. The defects of the driver's side and passenger's side rear falcon doors not

Opening and/or closing properly remain unrepaired. Plaintiffs’ vehicle is defective,

{3633 / 001} Page 2 of 5
Case 6:21-cv-00012-NKM Document 1-1 Filed 03/09/21 Page 6of8 Pageid#: 12

 

and cannot be repaired after a reasonable number of attempts. Accordingly,
Plaintiffs filed this suit.

10. Written notice of the defects and nonconformities to the warranty enumerated
above have been provided to Defendant on January 19, 2021 in accordance with

VA Code § 59.1-207.13(E).

COUNT | — VIOLATION OF THE VIRGINIA
MOTOR VEHICLE WARRANTY ENFORCEMENT ACT

11. The facts alleged in paragraphs 1-10 are incorporated herein by reference.
12. The Plaintiffs’ vehicle is a “lemon" under the Virginia Motor Vehicle Warranty
Enforcement Act (VA Code § 59.1-207.9, ef seq.). Plaintiffs are consumers as
defined in VA Cade § 59.1-207.11. Defendant Tesla, Inc. d/b/a Tesla Motors, Inc.
is a manufacturer as defined in VA Code § 59.1-207.11.
aa 1 ILs presumed that-a-reasonable-number-of-repair-attempts-have-been made———-——_____---..-_~.
pursuant to Virginia Code § 59.1-207.13(B)(2). Defendant Tesla, Inc. d/b/a Tesla
Motors, Inc. has not conformed the vehicle to the applicable warranty during the
Lemon Law rights period, in spite of notice being given within the required period.
The Plaintiffs are entitled to a full buy-back of the vehicle, including: the full
contract price, all collateral damages, incidental damages, interest, and
reasonable attorney's fees (calculated at $500.00 per hour or 1/3rd of the total

recovery, whichever is greater) and costs.

{3633 / 001} Page 3 of 5

 
Case 6:21-cv-00012-NKM Document 1-1 Filed 03/09/21 Page 7 of 8 Pageid#: 13

 

COUNT II - VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT

14. The facts alleged in paragraphs 1-10 are incorporated herein by reference.

15. Plaintiffs are consumers as defined in 15 U.S.C. § 2301(3). Defendant meets the
definition of a supplier and warrantor as defined in 15 U.S.C. § 2301(4)-(5). The
vehicle is a consumer product as defined in 15 U.S.C. § 2301(1).

16. The vehicle was manufactured after July 4, 1975, and an express Limited
Warranty and an implied warranty of merchantability was given to Plaintiffs as a
part of the purchase, warranties which meet the definition of written warranty and
implied warranty as contained in 15 U.S.C. § 2301(6)-(7), respectively.

17. The Warranty has failed its essential purpose and the Defendant has violated the
Act due to their inability to repair or replace the nonconformities within a

reasonable time, and their refusal to provide the Plaintiffs with a refund as

 

 

 

required in 15 U.S.C. § 2304(a)(1) and (4).

18. The Defendant has also breached its implied warranties of merchantability since
the vehicle, in view of the nonconformities that exist and the Defendant's inability
to correct them, Is not fit for the ordinary purpose for which the vehicle is being
used. See 15 U.S.C. §§ 2308, 2310(d).

19.As a proximate result of Defendant's violations of the Magnuson-Moss Warranty
Act and breach of their warranties, the Plaintiffs are entitled to rescission of the
contract and a full buy-back of the vehicle, including: the full contract price, all
collateral damages, incidental damages, interest, and reasonable attorney's fees
(calculated at $500.00 per hour or 1/3rd of the total recovery, whichever is

greater) and costs. See 15 U.S.C. §§ 2304(a) and 2310(d).

{3633 / 001} Page 4 of §
Case 6:21-cv-00012-NKM Document 1-1 Filed 03/09/21 Page 8of8 Pageid#: 14

 

 

WHEREFORE, Plaintiffs, Westward Investment Properties, L.L.C. and Tony
DeMarco West respectfully pray that this Court enter judgment in their favor against the
Defendant, granting Plaintiffs’ demands: for rescission of the contract, actual darnages
of $112,363.44, for all incidental damages after purchase, for attorney's fees and costs
in the amount of $500.00 per hour or 1/3” of the total recovery, whichever is greater,
and all other relief law and equity may provide.

TRIAL BY JURY IS DEMANDED.
Respectfully submitted,

Westward Investment Properties, L.L.C. &
Tony DeMarco West

By: LF ter an

v

James B. Feinman, Esq. (VSB # 28125)
Blake K. Huddleston, Esq. (VSB # 93572)
James B. Feinman & Associates

1003 Church Street

PO Box 697

Lynchburg, Virginia 24505

434-846-7603

434-846-0158 (fax)

jb@ijfeinman.com
blake@ifeinman.com

Counsel for Plaintiffs

{RLUINTE SAGE PAPER
rly BiNOHNNIeLA
Hafe 2 OPS O/2O2L TIME YN
PASE + GOL ALONG GC
ALS) | UESTHARD (MUETRENT ORES

aMy. + $296.00

{3633 / 003} Page 5 of §
